           Case 2:13-cr-00445-GMN-PAL           Document 35        Filed 02/03/14      Page 1 of 2


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 2                                    UNITED STATES DISTRICT COURT
 3                                          DISTRICT OF NEVADA
 4                                                        ***
 5
     UNITED STATES OF AMERICA,
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 7
                             Plaintiffs,
                                                            2:13-cr-00445-GMN-PAL
 8   vs.                                                    ORDER
 9   MARIO ANTONIO MUNGIA, et al.,

10                          Defendants.

11            Before the Court is Defendant Carlos Enrique Espinosa’s Motion to Seal Document No. 30

12   (#31).

13            Defendant seeks to file Document No. 30 sealed without redaction. Exhibit C in Document No.

14   30 contains the full date of birth. A property address is mentioned in the motion itself, as well as in the

15   Exhibits. Id. Defendant’s counsel is willing to file an Amended Motion with birth date and property

16   address redacted so the filing can be made public.

17            Pursuant to the Federal Rules of Criminal Procedures 49.1, unless the court orders otherwise, in

18   an electronic or paper filing with the court, the filing may include only the year of the individual’s birth

19   and the city and state of the home address. Fed. R. Crim. P. 49.1(d) states that, “[t]he court may order

20   that a filing be made under seal without redaction. The court may later unseal the filing or order the

21   person who made the filing to file a redacted version for the public record.”

22            Given that the instant motion contains the full birthdate and complete home address, Defendant’s

23   Motion #30 must be sealed. Defendant must file an Amended Motion to Reopen Detention Hearing

24   with the appropriate redactions which comply with Fed. R. Crim. P. 49.1.

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         Case 2:13-cr-00445-GMN-PAL           Document 35       Filed 02/03/14    Page 2 of 2




 1          Accordingly,

 2          IT IS HEREBY ORDERED that Defendant Carlos Enrique Espinosa’s Motion to Seal Document

 3   No. 30 (#31) is GRANTED.

 4          IT IS FURTHER ORDERED that Defendant must file an Amended Motion to Reopen Detention

 5   Hearing with the appropriate redactions which comply with Fed. R. Crim. P. 49.1.

 6          DATED this 31st day of January, 2014.
                                                               _________________________
 7                                                             CAM FERENBACH
                                                               UNITED STATES MAGISTRATE JUDGE
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